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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. JANE A. RESTANI, SENIOR JUDGE
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3B TECH, INC.,                                                          :
                                                                        :
                  Plaintiff,                                            :
                                                                        :
                  v.                                                    :    No. 21-cv-00026
                                                                        :
UNITED STATES,                                                          :
                                                                        :
                  Defendant.                                            :
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        BRIEF OF PROPOSED AMICUS CURIAE GOLABS, INC., d/b/a GOTRAX




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Dated: February 14, 2025
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                  Plaintiff,                                            :
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UNITED STATES,                                                          :
                                                                        :
                  Defendant.                                            :
 --------------------------------------------------------------------- X

                  BRIEF OF PROPOSED AMICUS CURIAE, GOLABS, INC.

        Pursuant to Rules 7(b) and 76 of the Rules of the Court of International Trade

(“USCIT R.”), amicus curiae GoLabs, Inc. d/b/a GOTRAX (hereinafter “GoLabs”), respectfully

submits this amicus curiae brief which addresses what amicus submits is the correct legal analysis

for determining the classification of “hoverboards,” the colloquial name given to the motorized

dicycles which are the subject of this case.

        GoLabs does not urge summary judgment in favor of either party. Indeed, as the

classification of the merchandise turns on the question of “principal use,” a contested issue of fact,

GoLabs believes trial in this case may be necessary. The purpose of this submission is to invite

the Court’s attention to the possibility that the proper classification of “hoverboards” may depend

on whether the products at issue in a particular case are for children or adults.

                                     INTEREST OF AMICUS CURIAE

        GoLabs, based in Carrollton, Texas, is an importer of motorized dicycles, also known as

“hoverboards,” which are designed for use by children. The physical characteristics of GoLabs’

hoverboards dedicate them for use by children, and make them unsuitable for use by adults or as

a viable means of transportation. GoLabs is the plaintiff in one pending action filed in this Court,

GoLabs Inc., d/b/a/ GOTRAX, Court No. 25-00003, in which the same provisions of the
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Harmonized Tariff Schedule of the United States (“HTSUS”) involved in this case are at issue.

Customs classified GoLabs’ products in liquidation as “other vehicles” of subheading

8711.60.0090, HTSUS, and assessed 25% ad valorem duties as the goods are “products of China.”

GoLabs contends that the products are properly classifiable as “toys” under subheading

9503.00.0090, HTSUS, and are unconditionally free of duty. The interpretation of these

subheadings in 3B Tech’s litigation may impact GoLabs’ interests with respect to its own suit.

          Similar to Plaintiff in this action, GoLabs imported products are “self-balancing electric

scooters,” which are commonly referred to as “hoverboards.”

          GoLabs’ hoverboards are compact, motorized dicycles with two wheels in parallel,

connected by a central platform on which the rider stands. The platform is equipped with sensors

and gyroscopic balancing technology, which provide balance and allow for responsive movement.

Riders control the hoverboard by shifting their body weight to initiate forward and backward

motion or to execute turns. GoLabs’ hoverboards are intended for individuals aged eight years and

older. They can accommodate a user with a maximum weight of 176 pounds. Their top speed is

6.2 miles per hour, and their traveling range on a full battery charge is 3.1 miles, dependent on

riding conditions and the weight of the rider. They are unsuitable for use on uneven surfaces. They

are not waterproof, and their 90-day warranty does not cover water damage.

          As the GoLabs merchandise is generally similar to the merchandise which is the subject of

this action, the company has an interest in the analytical framework which the court utilizes in this

action.

                                  SUMMARY OF ARGUMENT

          Proposed amicus curiae GoLabs poses two principal points of analysis.




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       First, under a General Rule of Interpretation (“GRI”) 1 classification analysis, the Court is

required to take into account relevant Section and Chapter Notes, as well as the tariff headings

under consideration. In this case, Note 1 to Section XVII and Note 4 to Chapter 87 of the HTSUS,

direct “children’s cycles,” such as GoLabs’ child-designed dicycles, to classification under

heading 9503, HTSUS.

       Second, evidence to be presented in respect to GoLabs’ products will establish that they

are principally used for the amusement of children, compelling their classification as a toy of

Heading 9503, HTSUS. Once Heading 8711, HTSUS, is eliminated as a basis of classification, the

so-called “Streetsurfing factors” for determining what qualified as a “wheeled toy,” which are not

binding on the Court, become of less significance in resolving the classification of the

merchandise.

       That dicycles for children are classified under Heading 9503, HTSUS, does not preclude

the classification of other, similar goods, under Heading 8711, HTSUS.

                              RELEVANT HTSUS PROVISIONS:

                       Harmonized Tariff Schedule of the United States

                                 General Rules of Interpretation

1. Classification of goods in the tariff schedule shall be governed by the following principles:
   The table of contents, alphabetical index, and titles of sections, chapters and sub-chapters are
   provided for ease of reference only; for legal purposes, classification shall be determined
   according to the terms of the headings and any relative section or chapter notes and, provided
   such headings or notes do not otherwise require, according to the following provisions:

2. (a) Any reference in a heading to an article shall be taken to include a reference to that article
   incomplete or unfinished, provided that, as entered, the incomplete or unfinished article has
   the essential character of the complete or finished article. It shall also include a reference to
   that article complete or finished (or falling to be classified as complete or finished by virtue of
   this rule), entered unassembled or disassembled.

   (b) Any reference in a heading to a material or substance shall be taken to include a reference
   to mixtures or combinations of that material or substance with other materials or substances.

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   Any reference to goods of a given material or substance shall be taken to include a reference
   to goods consisting wholly or partly of such material or substance. The classification of goods
   consisting of more than one material or substance shall be according to the principles of rule
   3.

3. When, by application of rule 2(b) or for any other reason, goods are, prima facie, classifiable
   under two or more headings, classification shall be effected as follows:

       a. The heading which provides the most specific description shall be preferred to headings
          providing a more general description. However, when two or more headings each refer
          to part only of the materials or substances contained in mixed or composite goods or to
          part only of the items in a set put up for retail sale, those headings are to be regarded
          as equally specific in relation to those goods, even if one of them gives a more complete
          or precise description of the goods.

       b. Mixtures, composite goods consisting of different materials or made up of different
          components, and goods put up in sets for retail sale, which cannot be classified by
          reference to 3(a), shall be classified as if they consisted of the material or component
          which gives them their essential character, insofar as this criterion is applicable.

       c. When goods cannot be classified by reference to 3(a) or 3(b), they shall be classified
          under the heading which occurs last in numerical order among those which equally
          merit consideration.

                       Harmonized Tariff Schedule of the United States

                              Additional Rules of Interpretation:

1. In the absence of special language or context which otherwise requires—

   a tariff classification controlled by use (other than actual use) is to be determined in accordance
   with the use in the United States at, or immediately prior to, the date of importation, of goods
   of that class or kind to which the imported goods belong, and the controlling use is the principal
   use;


                      Harmonized Tariff Schedule of the United States:

                                   Section and Chapter Notes
Note 1 to Section XVII

               This section does not cover articles of heading 9503 or 9508, or
               sleds, bobsleds, toboggans or the like of heading 9506.

                                                 ***



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Chapter Note 4 to, Chapter 87:

               4. Heading 8712 includes all children's bicycles. Other children's cycles fall in
                  heading 9503.



                      Harmonized Tariff Schedule of the United States:

                                          Chapter 87
 Heading/       Stat.    Article Description
 Subheading     Suffix
 8711                    Motorcycles (including mopeds) and cycles fitted with an auxiliary
                         motor, with or without side-cars; side-cars:
                          *                     *                     *
 8711.60                    With electric motor for propulsion
 8711.60.00     50            Of an output not exceeding 250W

                                             Chapter 95

 Heading/       Stat.  Article Description
 Subheading     Suffix
 9503                     Tricycles, scooters, pedal cars and similar wheeled toys; dolls’
                          carriages; dolls, other toys; reduced-scale models and similar
                          recreational models, working or not; puzzles of all kinds; parts and
                          accessories thereof

                                         *
 9503.00.00     90               Other


                                             ARGUMENT

I.     Section Note 1 to Section XVII, HTSUS, and Note 4 to Chapter 87, HTSUS Direct
       Classification of Children’s Hoverboards to Heading 9503.

       Section Note 1 to Section XVII, HTSUS, reads “[t]his section does not cover articles of

heading 9503 or 9508, or sleds, bobsleds, toboggans or the like of heading 9506.” GRI 1 to the

HTSUS provides, in relevant part, that “for legal purposes, classification shall be determined

according to the terms of the headings and any relative section or chapter notes and, provided such

headings or notes do not otherwise require,” according to the subsequent GRIs. The GRIs are


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applied in numerical order, and when goods may be classified using GRI 1, they must be. Honda

of America Mfg Co. v. United States, 607 F.3d 771, 731 (Fed. Cir. 2010). GRI 1 is paramount.

Telebrands Corp. v. United States, 865 F. Supp. 1277, 1280 (Ct. of Int’l Tr. 2012).

       GRI 1 indicates that “for legal purposes, classification shall be determined according to the

terms of the headings and any relative section or chapter notes” and, “provided such headings or

notes do not otherwise require,” according to the subsequent GRIs.         The court "must read the

words in their context and with a view to their place in the overall statutory scheme." Second

Nature Designs Ltd., v. United States, 660 F. Supp. 3d 1352, 1372 (Ct. Int’l Tr. 2023). See also

BMW of N. Am. LLC v. United States, 926 F.3d 1291, 1299 (Fed. Cir. 2019) (quoting King v.

Burwell, 576 U.S. 473, 486 (2015)). Therefore, under GRI 1, if plaintiff’s product is classified in

Heading 9503, classification under the Government’s proposed heading in inapplicable.

       Any GRI 1 analysis must take account of the Section and Chapter Notes which direct

children’s cycles out of Chapter 87, HTSUS and into Heading 9503, HTSUS Note 1 to Section

XVII , HTSUS commands that “[t]his section does not cover articles of heading 9503 … .” Thus,

if it is established that any hoverboard is of a class or kind of merchandise principally used for the

amusement of children or adults, classification in Section XVII and Chapter 87 is precluded. See,

e.g., Processed Plastic Co. v. United States, 473 F.3d 1164, 1170 (Fed. Cir. 2006). The courts have

determined that a toy of Heading 9503 is “an object primarily designed and used for pleasurable

diversion, as opposed to practicality or utility.” Springs Creative Prods. Grp. v. United States, 37

C.I.T. 1222 (2013).

       Moreover, Note 4 to HTSUS 87, HTSUS, sets forth a special rule regarding “children’s

cycles,” providing that “Heading 8712 includes all children's bicycles. Other children's cycles

fall in heading 9503.” (Emphasis added). The next inquiry is whether a children’s hoverboard



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falls within the meaning of the phrase “Other children’s cycles,” as used in the Chapter Note. The

answer to this inquiry is yes.

         The product at issue in this case, and in GoLabs’, case, are “dicycles.” A “dicycle” (also

known as a diwheel) is a device with two wheels side by side, unlike single-track vehicles such as

motorcycles and bicycles, which have one wheel followed by another. The Oxford English

Dictionary defines a “dicycle” as “[a] pedal-powered vehicle with two large wheels placed parallel

to one another, instead of being in line as in a bicycle; esp. a vehicle of the design devised by E.

C. F. Otto.1 The Merriam-Webster Dictionary defines a “dicycle” as “a velocipede having the two

wheels parallel instead of in the same line.”2 The term “dicycle” has been in use since at least

1877.3

         More recently, dicycles have been equipped with electric motors for propulsion, and in

some cases, with gyroscopic balancing technology. Segway, a producer of motorized vehicles with

gyroscopic balancing technology, is recognized as a manufacturer of dicycles. See Segway

Ninebot S, https://store.segway.com/ninebot-s.

.        The merchandise which is the subject of this case, as in Golabs’ separate action, consists

of electrically-powered dicycles with self-balancing electric gyroscopic technology. They are

marketed using the name “hoverboards,” which is something of a misnomer. The term

“hoverboard” was not widely used before the 1989 Robert Zemeckis movie Back to the Future,



         1
               See       Oxford         Dictionary,            Definition        of        Dicycle,
https://www.oed.com/dictionary/dicycle_n?tl=true.
         2
          See Merriam-Webster Dictionary, Definition of Dicycle, https://www.merriam-
webster.com/dictionary/dicycle.
         3
          See Oxford Dictionary Definition                of   Dicycle,     Meaning     and    Use.
https://www.oed.com/dictionary/dicycle_n?tl=true.


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Part II. The movie’s protagonist, Marty McFly (played by the actor Michael J. Fox) traveled into

his future (the year 2015) and used an anti-gravity “hoverboard” device resembling the skateboard

he used in his “present” year of 1985. Sadly, cinema is once again ahead of reality4, and such anti-

gravity devices have neither been invented nor commercialized. But the use of the term

“hoverboards” to describe these goods capitalizes on the commercial and popular success of the

Back to the Future films, perhaps appealing to the consumer more than the older term “dicycle.”

See      Ammon        Shea,    Words    We’re      Watching:     Hoverboard,       Merriam-Webster,

https://www.merriam-webster.com/wordplay/when-did-we-start-talking-about-hoverboards.

         But Note 4 to Chapter 87, HTSUS, directs the Court to other questions essential to its

classification analysis. First, is the product at bar an “other cycle,” i.e., one other than a bicycle?

Indeed, it is—dicycle—and is characterized by the parallel (rather than in-line) placement of its

two wheels. Second, is the product a “children’s cycle”? If that question is answered in the

affirmative, then the product is excluded from classification in Chapter 87, HTSUS, and must

instead be classified in Heading 9503, by operation of the governing notes.

         In this regard, Heading 8711, HTSUS, comes into play as a possible classification only

where the Section Note and Chapter Note do not direct the product to Heading 9503.

         In this case, the government reads the term “children’s cycles” other than bicycles to

include only tricycles. See Government Brief at 25-26, ECF 36. Amicus submits that this reading

is incorrect, and overlooks “dicycles.” Chapter Note 4 to Chapter 87, HTSUS provides that

“Heading 8712 includes all children's bicycles. Other children's cycles fall in heading 9503.” It

does not limit the products directed to Heading 9503 to “tricycles.” Rather it means “children’s



         4
             See also, e.g., Stanley Kubrick’s 2001: A Space Odyssey (Stanley Kubrick Productions
1968).

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cycles” other than bicycles. In addition, where Congress specifies the things which fall within the

scope of an enactment, and fails to include others, the exclusion must be presumed intentional and

respected. See Pustet & Co., v. United States, 13 Ct. Cust. 530, 532 (1926); see also Nissan Motor

Mfg. Corp U.S.A. v. United States, 693 F. Supp. 1183, 1186 (Ct. Int’l Tr. 1988), aff’d, 884 F.2d

1375 (Fed. Cir. 1989). The Government’s analysis fails to give meaning to every word in Note 4

to Chapter 87.

       The open-source encyclopedia Wikipedia notes:

       A dicycle (/ˈdaɪsɪkəl/[1]) (also known as a diwheel) is a vehicle with two parallel
       wheels, side by side, unlike single-track vehicles such as motorcycles and bicycles,
       which have two wheels inline. Originally used to refer to devices with large wheels
       and pedals, the term is now used in relation to powered self-balancing scooters
       with smaller wheels and no pedals such as the Segway PT and the self-
       balancing hoverboard.

Wikipedia, Dicycle, https://en.wikipedia.org/wiki/Dicycle (last accessed February 11, 2025)

(Emphasis added). It further notes that “The self-balancing scooter is a category of personal

transporter which includes all self-balancing powered portable devices with two parallel wheels

that includes the Segway PT, the Segway mini PRO and the self-balancing hoverboard.” Id. It

features a photograph of a “self-balancing scooter” that closely resembles GoLabs’ product:




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       The common meaning of “children’s cycle” covers products such as GoLabs’ toy

hoverboards. In interpreting the terms of a tariff provision “[a] court may rely upon its own

understanding of the terms used and may consult lexicographic and scientific authorities,

dictionaries, and other reliable information sources.” Carl Zeiss, Inc. v. United States, 195 F.3d

1375, 1379 (Fed. Cir. 1999). “Absent contrary legislative intent, HTSUS terms are to be construed

according to their common and commercial meanings, which are presumed to be the same.” Id.

There are many definitions of “cycles” that include merchandise other than bicycles and tricycles.

According to the Automotive Dictionary, a “cycle” is:

       a vehicle with one or more wheels (usually spoked) where the rider/driver straddles
       the vehicle as a bicycle, motorcycle, tricycle, etc. It also includes other vehicles
       adapted from a traditional cycle where the rider/driver no longer straddles the
       vehicle (recumbent cycle, four-wheel side-by-side pedal powered vehicle).

See Automotive Dictionary, Definition of cycle, https://automotivedictionary.org/cycle.




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       Other dictionaries recognize “dicycles” as a distinct form of “cycle.” According to the

Merriam-Webster Dictionary, a dicycle is a “velocipede5 having the two wheels parallel instead of

in the same line.” See Merriam-Webster Dictionary, Definition of Dicycle, https://www.merriam-

webster.com/dictionary/dicycle. The Oxford English Dictionary defines “dicycle” as a “pedal-

powered vehicle with two large wheels placed parallel to one another, instead of being in line as

in a bicycle,” and recognizes the term’s usage dating back as far as 1887 and demonstrates its use

in     U.S.      patents.     See      Oxford         Dictionary    Definition      of     Dicycle.

https://www.oed.com/dictionary/dicycle_n?tl=true.

       The term “dicycle” is also a term used in commerce. A 2013 article details recent

innovations by manufacturers on similar products. See, e.g., Matt Petronzio, Dicycles: The Scooter

Gets an Upgrade, available at: https://mashable.com/archive/electric-dicycles#GrMUfZgBuZqI .

(last accessed February 11, 2025).

       Without question, the hoverboards at issue in this case, as in GoLabs’ case, are dicycles.

The products contain two wheels in a parallel rather than a single line. Therefore, the dicycles, if

intended for use by children, are classified in heading 9503, HTSUS, under GRI I and instructions

from Note 1 to Section XVII, HTSUS, and Chapter Note 4 to Chapter 87, HTSUS. This analysis

is an important part of the GRI analysis for classification of these products.

       In this regard, we note that the Explanatory Note to Heading 8711 from the World Customs

Organization provides a description of the type of item at issue in this case. The Explanatory Note

explains that the:


       5
          Mirriam-Webster also defines velocipede as “a lightweight wheeled vehicle propelled by
the rider: such as a tricycle and archaically a bicycle. See Merriam Webster Dictionary, Definition
of velocipede , https://www.merriam-webster.com/dictionary/velocipede. Historically, bicycles
and tricycles were referred to as velocipedes. See Smithsonian Institute, The Development of the
Velocipede, https://www.si.edu/spotlight/si-bikes/si-bikes-velocipede.

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        … heading also covers two-wheeled, electrically-powered transportation devices,
       designed for carrying a single person, for use within low speed areas such as
       pavements (sidewalks), paths, and bicycle lanes. Their technology allows the rider
       to stand upright while a system composed of gyroscope sensors and multiple
       onboard microprocessors maintains both the device’s and rider’s balance on two
       independent, non-tandem wheels.

Explanatory Note to Heading 87.11. Explanatory Notes are “generally indicative of proper

interpretation of a tariff provision.” Agfa Corp. v. United States, 520 F.3d 1326, 1239 (Fed. Cir.

2008) (citation omitted). However, “[u]nlike Chapter Notes, Explanatory Notes are not legally

binding.” Deckers Outdoor Corp. v. United States, 714 F.3d 1363, 1367 n. 1 (Fed. Cir. 2013). The

Section and Chapter Notes must be consulted and applied before the Explanatory Notes may be

consulted.

       In this case, the Explanatory Note to Heading 8711 indicates that the heading covers

micromobility items featuring gyroscopic balancing systems. However, the Heading applies to

such items only if they are not directed to Heading 9503 by the Section and Chapter Notes. Section

Note 1 to Section XVII indicates that “toys” do not fall within the Section, which includes Chapter

87. Note 4 to Chapter 87 indicates that “children’s cycles, other than bicycles, are to be classified

in Heading 9503.”

       Under GRI 1, the classification analysis must first focus on whether the product at bar is

an “other children’s cycle” based on Section Note 1 to Section XVII and Chapter Note 4 to Chapter

87, before consulting the Explanatory Notes for assistance.

       In Midwest of Cannon Falls v. United States, 122 F.3d 1423, 1428 (Fed. Cir. 1997), the

appellate court held that “[a]bsent a clearer showing of congressional intent,” the Court should not

“import incidental characteristics of the examples of the explanatory notes into the headings of the

HTSUS.” It is neither an exhaustive nor preclusive listing of goods covered by the Heading. See

Rubie’s Costume Co. v. United States, 337 F.3d 1350, 1359 (Fed. Cir. 2003).

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        Whether a cycle is a “children’s cycle” is a fact-intensive exercise. In making this necessary

determination, the Court may consider such factors as the size of the article, see, e.g., New York

Merchandise Corp. v. United States, 62 Cust. Ct. 38 (1969), whether the product is too fragile for

use by children, see, e.g., Krummell Imports v. United States, 34 Cust. Ct. 151 (1965), whether the

product is susceptible of safe use by children, whether it conforms to government safety standards

applicable to children’s articles, the way in which the article is marketed, and the principal use of

the article, among other factors.

II.     If the Court Determines that a Particular Dicycle is a “Children’s Cycle,” it Must
        Then Determine if it is a “Toy” of Heading 9503.

        Once the Court determines that a hoverboard is a “children’s cycle,” it must next determine

whether it is a “toy” of the kind described in Heading 9503, HTSUS. The Court has determined a

toy to be “an object primarily designed and used for ‘pleasurable diversion’” See Springs Creative

Grp. Inc. v. United States, 37 C.I.T. 1222, 1233 (2013); see also Infantino LLC v. United States,

28 C.I.T. 1945, 1950-51 (2014). The principal use of a toy is amusement, diversion or play value,

rather than practicality. Minnetonka Brands Inc. v. United States, 24 C.I.T. 645 (2000). The

Explanatory Notes to Heading 9503 indicate that the “wheeled toys” of that heading may be of

many types, and that “[w]heeled toys may be simply drawn or pushed by another person or driven

by a motor.” Explanatory Notes 95.03.

        It is well-established that, to determine whether subject merchandise is a "toy" under

Chapter 95, HTSUS, its principal use must be for "amusement, diversion, or play." See Processed

Plastic Co. v. United States 473 F.3d 1164, 1170 (Fed. Cir. 2006). Additional U.S. Rule of

Interpretation (“ARI”) 1 "dictates how tariff classification should be construed when the

classification decision is controlled by use." Primal Lite, Inc. v. United States, 182 F.3d 1362,

1363 (Fed. Cir. 1999). Essentially, the “principal use” of an article is the principal use of the “class

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or kind” of merchandise to which the imported goods belong, or stated another way, ARI 1(a)

requires the classifier to determine the group of goods that "are commercially fungible with the

imported goods." Aromont USA, Inc. v. United States, 671 F.3d 1310, 1313 (Fed. Cir. 2012)

(citation omitted).

       In identifying the goods constituting the “class or kind” of merchandise, it is proper to

consider the factors outlined in United States v. Carborundum Co., 536 F.2d 373, 377 (C.C.P.A.

1976); see also Processed Plastic Co. v. United States, 473 F.3d 1164, 1170 (Dec. 2006) (noting

that the Carborundum factors "are simply areas of inquiry that may prove useful in determining

what is the principal use of merchandise alleged to be a 'toy.’") The Carborundum factors guide

the determination of the "class or kind" of goods to which a product belongs, focusing on use,

physical characteristics, commercial reality, and trade recognition. The Carborundum factors

include use of the merchandise, physical characteristics of the merchandise, economic practicality,

expectations of the ultimate purchasers, channels of trade, environment of sale, and recognition in

trade. Aromont USA, Inc., 671 F.3d at 1313-16. The Carborundum factors guide the determination

of the "class or kind" of goods to which a product belongs, focusing on use, physical

characteristics, commercial reality, and trade recognition.

       The identification of a “class or kind” of merchandise also involves an examination of

goods which are “commercially fungible” with the article under consideration. Target General

Merchandise Inc. v. United States, 392 F. Supp. 3d 1326 (Fed. Cir. 2019); Dependable Pkg.

Solutions Inc. v. United States, 757 F.3d 1374 (Fed. Cir. 2014); Primal Lite, Inc. v. United States,

182 F.3d 1362 (Fed. Cir. 1999).

       We will not belabor the Court with an examination of the Carborundum factors as applied

to amicus’ merchandise, but expect that such an analysis, when conducted, will lead to a



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determination that amicus’ products are of a class or kind of merchandise principally used for

amusement or diversion by children.

        In addition, in Streetsurfing LLC v. United States, 11 F. Supp. 3d 1287 (Ct. Int’l Trade

2014), the Court announced standards for determining whether a product is a “wheeled toy” as

described in Heading 9503. The factors suggest that wheeled toys classified in heading 9503,

HTSUS should have certain characteristics such as : (1) the absence of a training requirement prior

to its use; (2) the absence of a meaningful risk of injury involved in its use; (3) the lack of acquired

skill to fully utilize the item; (4) the lack of exercise or athletic aspect in the item’s use; and (5)

the presence of an assistive device.” Id. at 1335. Again, amicus expects that an application of these

factors to its product will indicate that they are “wheeled toys” classifiable in Heading 9503.




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                                        CONCLUSION

       Amicus curiae, GoLabs, Inc., hopes that this submission will be of assistance to the Court

in determining the proper classification of hoverboards.



                                                  Respectfully submitted,

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Dated: February 14, 2025




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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. JANE A. RESTANI, RENIOR JUDGE
 --------------------------------------------------------------------- X
3B TECH, INC.,                                                          :
                                                                        :
                  Plaintiff,                                            :
                                                                        :
                  v.                                                    :        No. 21-cv-00026
                                                                        :
UNITED STATES,                                                          :
                                                                        :
                  Defendant.                                            :
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                                CERTIFICATE OF COMPLIANCE

        Pursuant to the U.S. Court of International Trade Standard Chambers Procedures, and in

reliance upon the word count feature of the word processing program used to prepare the instant

Memorandum, I, Patrick B. Klein, of Neville Peterson LLP, who is responsible for the instant

Memorandum, certify that it contains 4,169 words.


                                                          Respectfully submitted,

                                                          /s/ Patrick B. Klein
                                                              Patrick B. Klein
